                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                 )
                                         )
                                         )
v.                                       )                  Criminal No. 3:10-00064
                                         )                  Judge Trauger
                                         )
ROBERT LEE ARCHIBALD, JR., a/k/a “CHAN”, )
LOLETHIA MUSE, and                       )
DUANTEZ CORNELL JENKINS                  )
                                         )

                                           ORDER

       The Motion to Continue Trial filed by defendant Archibald (Docket No. 200) and joined

in by the other two defendants and the government, is GRANTED, conditioned upon the filing

of waivers of speedy trial by the other two defendants. By separate order, the case is being reset

for trial on April 9, 2013.

       It is so ORDERED.

       ENTER this 2nd day of October 2012.



                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




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